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                       UNITED STATES BANKRUTPCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                        :       Chapter 13
                                              :
Susan M Woolbert                              :
                                              :       Bankruptcy No. 22-11948-AMC
                Debtor.                       :



                                       ORDER

         AND NOW, the Debtor having filed the above bankruptcy case on July 27, 2022,


         AND, the Debtor having filed four (4) prior bankruptcy case before the present case

including:

         Case Number 18-10612, Chapter 13 filed in Pennsylvania Eastern Bankruptcy Court on

01/31/2018 , Dismissed for failure to make plan payments on 07/17/2018;

         Case Number 18-15706, Chapter 13 filed in Pennsylvania Eastern Bankruptcy Court on

08/29/2018 , Dismissed for failure to make plan payments on 12/12/2018;

         Case Number 19-10509, Chapter 13 filed in Pennsylvania Eastern Bankruptcy Court on

1/29/19, Dismissed for failure to make plan payments on 8/20/19;

         Case Number 22-11656, Chapter 13 filed in Pennsylvania Eastern Bankruptcy Court on

 6/24/22, Dismissed on 7/13/22 for failure to file all documents required by Fed. .Bankr.P.1007

         AND, the Debtor having Bankruptcy Case No. 22-11656 pending at the time of filing

the present Bankruptcy Case No. 22-11948-AMC,

         AND, after notice and hearing of August 23, 2022, it is hereby
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          ORDERED that this chapter 13 case is Dismissed based on a record of bad faith. The

  Debtor shall be prohibited from filing future bankruptcy cases for a period of 365 days from the

  date of the dismissal order of this case, either individually or jointly, without first seeking court

  approval, and it is

          FURTHER ORDERED that this case shall remain OPEN and the Court will retain

  jurisdiction to consider the Motion for Relief from Stay (In Rem Relief), in addition to Motion for

  Relief from Co-Debtor Stay (In Rem Relief) Filed by Wilmington Savings Fund Society, FSB, D/B/

  A Christiana Trust, Not Individually but As Trustee for Pretium Mortgage Acquisition Trust filed

  and docketed at Docket Entry # 11. A telephonic hearing on the Motion is scheduled for

  August 30, 2022 at 11:00 a.m. in the Bankruptcy Court. Parties are to Dial: 877-873-8017

  Access Code: 3027681#.




     Date: August 23, 2022                                   _________________________________
                                                             Ashely M. Chan
                                                             United States Bankruptcy Judge
